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                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 UNITED STATES OF AMERICA,

        Plaintiff,

                v.
                                                       Case No. 2:22-cv-05209-GJP
 AMERISOURCEBERGEN CORPORATION;
 AMERISOURCEBERGEN DRUG
 CORPORATION; and INTEGRATED
 COMMERCIALIZATION SOLUTIONS, LLC,

        Defendants.


                         STIPULATION AND PROPOSED ORDER
       Pursuant to Local Rule of Civil Procedure 7.4(b), Plaintiff United States of America and

Defendants AmerisourceBergen Corporation (n/k/a Cencora, Inc.), AmerisourceBergen Drug

Corporation, and Integrated Commercialization Solutions, LLC (collectively, “Defendants”), by

and through their respective counsel, hereby stipulate that in light of Defendants’ recent retention

of Reed Smith LLP as lead counsel, the time for Defendants to answer the Complaint is extended

until December 18, 2023.

 Dated: December 5, 2023                           Respectfully submitted,

 /s/ Amy L. DeLine                                 /s/ Robert A. Nicholas
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 Michael J. Wadden                                 Joseph J. Mahady
 Deborah S. Sohn                                   Thomas H. Suddath, Jr.
 Rowan L. Reid                                     Anne Rollins Bohnet
 Trial Attorneys                                   Abigail M. Pierce
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Counsel for Plaintiff United States of America


APPROVED and SO ORDERED on this ____ day of ____________, 2023



                                                 THE HONORABLE GERALD J. PAPPERT
                                                 UNITED STATES DISTRICT JUDGE


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                                CERTIFICATE OF SERVICE

       I hereby certify that on December 5, 2023, I served a true and correct copy of the foregoing

upon all counsel of record via the Court’s CM/ECF electronic filing system.

                                                 /s/ Robert A. Nicholas
                                                 Robert A. Nicholas
